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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                       :
ERIC MICHAEL ROSEMAN, ALEXANDER LEE,   :
and WILLIAM VAN VLEET, individually and:
on behalf of others similarly situated,:               14cv2657 (DLC)
                                       :
                         Plaintiffs,   :            MEMORANDUM OPINION
                                       :                 AND ORDER
               -v-                     :
                                       :
BLOOMBERG L.P.,                        :
                                       :
                         Defendant.    :
                                       :
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DENISE COTE, District Judge:

    On September 21, 2017, this Court issued an Opinion

(“September 21 Opinion”) granting the plaintiffs’ motion to

certify a class pursuant to Fed. R. Civ. P. 23 in connection

with the claim brought by Bloomberg’s New York-based Analytics

Representatives for a violation of New York Labor Law § 650 et

seq. (“NYLL”).   On August 19, 2016, the plaintiffs also moved to

certify the following California class: “all representatives in

the Analytics Department in California who were not paid time

and one-half for hours over 40 worked in one or more weeks or

hours over 8 worked in one or more days at any time within the

four years preceding the filing of this Complaint and the date

of final judgment in this matter.”       It is undisputed that over

100 current and former Bloomberg employees are putative members

of this California class.     For the reasons that follow, and for
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the reasons set forth in the September 21 Opinion, the

plaintiffs’ motion is granted.

    Like the NYLL, the California Labor Code (“CLC”) requires

payment of overtime wages and includes exemptions to those

overtime pay requirements.     8 Cal. Code Regs.     § 11040(1)(A).

Bloomberg argues that the “administrative” exemption applies to

the California-based Analytics Representatives.         This is the

core question that must be resolved for the California class.

At trial, Bloomberg will bear the burden of showing that the

elements of this exemption are satisfied.        Sav-on Drug Stores,

Inc. v. Superior Court, 34 Cal.4th 319, 338 (Cal. 2004).

    Unlike the NYLL, the CLC exemptions do not precisely mirror

the criteria set forth in the Fair Labor Standards Act (“FLSA”).

The CLC defines, in pertinent part, an exempt “administrative”

employee as one:

    (a) Whose duties and responsibilities involve . . .(I) The
    performance of office or non-manual work directly related
    to management policies or general business operations of
    his/her employer or his employer's customers;
    (c) Who regularly and directly assists a proprietor, or an
    employee employed in a bona fide executive or
    administrative capacity (as such terms are defined for
    purposes of this section); or
    (d) Who performs under only general supervision work along
    specialized or technical lines requiring special training,
    experience, or knowledge; or
    (e) Who executes under only general supervision special
    assignments and tasks; and
    (f) Who is primarily engaged in duties that meet the test
    of the exemption.

8 Cal. Code Regs. § 11040(1)(A)(2)(emphasis supplied).          The term

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“primarily” is defined to mean “more than one-half of the

employee’s worktime.”    Combs v. Skyriver Comms., Inc., 159 Cal.

App. 4th 1242, 1254 (Cal. Ct. App. 2008).

    While the CLC does set out its own definition of the

exemption, it also requires the exemption to be construed in

accordance with the relevant FLSA regulations.         Subsection (f)

provides that “activities constituting exempt work and non-

exempt work shall be construed in the same manner as such terms

are construed in the following regulations under the Fair Labor

Standards Act effective as of the date of this order.”          8 Cal.

Code. Regs. § 11040(1)(A)(2)(f)(emphasis suppled).         Moreover,

the definition of the administrative exemption provided in the

CLC “closely parallels the federal regulatory definition of the

same exemption.”    Combs, 159 Cal. App. 4th at 1255.

California's the administrative employee exemption is, however

“somewhat different.”    Nordquist v. McGraw-Hill Broadcasting

Co., 32 Cal. App. 4th 555, 562 (Cal. Ct. App. 1995).          Finally,

the exemption is “narrowly construed against the employer” and

its application is limited to those employees “plainly and

unmistakably” within its terms.         Id.

    Despite the differences between the NYLL and the CLC, the

same analysis that justifies certifying the New York class

compels certification of a California class.        As described in

the September 21 Opinion, “plaintiffs have shown that the issues

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pertinent to Bloomberg’s affirmative defense can be resolved

through common proof at trial, and that those issues will far

outweigh any individualized determinations that must be made.”

Bloomberg makes no arguments unique to California law, and the

CLC does not require anything beyond the analysis in the Opinion

granting certification of the New York class in order to certify

the California class.       Accordingly, the plaintiffs’ August 19,

2016 motion for certification of a California class for

Analytics Representatives is granted.


Dated:       New York, New York
             September 25, 2017

                                     __________________________________
                                                DENISE COTE
                                        United States District Judge




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